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            IN THE HIGH COURT OF JUSTICE                           CLAIM NO :CL-2015-000829
            ùUEEN'SBeNCH DlvlsloN
            YOMMeRCIALCOSJRT                                                 Plerre-AndréStaub
                                                                        FirstW itnessStatem ent
                                                                                  20 March 2017
                                                                        ExhlbltPASI and PAS2
            BETW EEN:
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                                                                                  7.y.'.         ..'i'' ....
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                                                                      '                                              r&'
                                                                                                                       y
                                         (1)YUKOS FINANGE B.V. 1/
                                                               ,js 2I pgR2;j
                                                                           y
                                                                                 .s
                                                                                                                    .
                                                               k15.
                                    (2)YUKOSINTERNATIONALUKB.V. k..x,,   .   .;?
                                                                             ?                                .. z
                                                                                                               'lùq;
                                                                         ,. .  y
                                                                                  ?..                      , t.
                                                                             x ,           ' .. <z     t.& . .#
                         (3)STICHTING ADMINISTRATIEKANTOOR YUKOS INTERNATI '
                                                                           A                               .'''

                                           (4)DAVID GODFREY
                                       (5)YUKOS CAPITAL S.A.R.L
                                (6)FINANCIAL PERFORMANCE HOLDING: B.V.
                              (;)YUKOSBYDROCARBONS INVESTMENTS LIMITED
                                                                                                           Clalmants

                                                 -   and -

                                           (1)STEPHEN LYNCH
                                         (2)STEPHEN JENNINGS
                                            (3)ROBERT REID
                                            (4)RICHARD DEIIZ
                                         (5)ROBERT FORESMAN
                                                                                                       Db
                                                                                                        nfendants



                               WITNESS STATEMENTOFPIERRE-ANDR:STAUB


            1,Pi
               erre-André Staub.investi
                                      gatoq ofRue de Lyon 5 - 7,1201 Geneva,Switzerland,say as
            follows:




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                   lam an agentofSeeclop & Si
                                            derisSA whichwasengaged on behalfoftheClni
                                                                                     m antsto
                   thi
                     s cl
                        aim to provide documents to MrStephen Patri
                                                                  ck Lynch (''
                                                                             M rLyncht'
                                                                                      )in person in
                   M oscow,Russia.Imake thisstatem entin rel
                                                           ati
                                                             ontothis engagement,

            2.     Exceptwhere Iindicate to the contrary,the facts and matters contained in thi
                                                                                              s witness
                   statementare within m y own knowledge. W here the facts are notwi      thin my own
                   knowledge.lhave identi
                                        fied m y sources ofinformation orbelief.

            3.      1now produce as'PASI' 'truecopyphotographs.Inow produce as'PASZ'    'truecopiesof
                   two video recordings ofthe events Idescribe below. The photographs exhibited to thi
                                                                                                     s
                   witness statem enthave been redacted to coverthe faces ofany potentially i
                                                                                            dentifiabl
                                                                                                     e
                   individuals that were not directly involved in the events described in this witness
                   statement.

            STEPS TAKEN TO PROVIDE DOGUMENTS TO MR LYNCH

            4.     O n 7 March 2017, Iarrived in Moscew togetherwith m y coll
                                                                            eague,Jnhan Lussier.
                   Oiswang LLP arrangedforusto be provtdedwitha packofdocum entsrelevantto these
                    proceedings (the ''Documents'
                                                ').The Documents contained a I
                                                                             etterdated 2 February
                   2017addressed to MfLynchplusattachmentswhichwere:

            4.1    Application Notice dated 1 Februafy 2017.
                                                           ,

            4.2    Third W i                                 livan dated 31 Januafy 2017 and Exhibit
                               tness Statementof Bernard O'Sul
                   1jjjk
                       gjtg
                          y(
                           jjl
                             ..
            4.3    Wi
                    tnessStatem entofJean Baroudidated31January2017 andExhibit'JB1''
                                                                                   ,and

            4.4    Wi
                    tness StatementofChristophe M ay dated 31 January 2017 and Exhibit'CM 1''
                                                                                            .

            5.      Forconvenience lonly exhibita copyofthe Olswang I
                                                                    etterdated 2 February2017 as the
                    attachments are bujky.

            6.     Atapgroximztely14.15 pm on 8 March 2017,MrW nchwasIocated si tting ina restaurant
                   (photographs pag@s 2 - 3)with an tlnknown woman by my colleague,MrLtr  ssier. Mr
                    Lussierhad entered the festaurant5rstwhile Iwaited outside. W hen MrLussierreturned
                    to where #was waiting.he described to me the l
                                                                 ocati
                                                                     on in the restaurantwhere MrLynch
                    was seated and the clothes he was wearing.

                    lhad previously been provided with photographs of M r Lynch and had again carefully
                    fam iliari
                             sed m yself wi
                                          th these while I waited outside,imm ediately before ertering the
                    restaurant.

                    l subsequentl y entered the restaurant and recognised Mr Lynch both from tlle
                    photographswhich Ihad revi     ewed aswel lasfrom the description provi
                                                                                          ded to me by M r
                    Lussier. lfeltentirely satisfi
                                                 ed thatthe man i
                                                                n the restaurantwas Mrtynch.

                   Atapproxi m ately 15.00pm ,when lrecei ve the okfrom MrLussierwho waspositi   oned to
                   take pictures ofthe interaction,lapproached MrLynch directly atthe table he was sitting


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                   at.He was on the phone and Isai
                                                 d M ello MrLynch'
                                                                 ',atwhi
                                                                       ch pointMrLynch turned his
                   head in acknowl
                                 edgmentbutdi   d notothefwise say anything in response (photograph
                   page4),Thewoman si tting in frontofMrLynchobserved the interaction butdijnottake
                   pad in i
                          t.
            10.    Iplaced the Documents imm edii
                                                ately in frontofMrLynch and sai  d 'Iam here lo deliver
                   some nocum ents to youl'
                                          .W hen Mr Lynch saw the files containing the Documents,he
                   jm mediately gotup and ran away'leavi  ng the restaurant. So sudden was MrLynch's
                   depafturethathi
                                 schairfelltothe floorasheranoff(video 1at7minutel 06 ueconds).
                   M rLussierand IwentSooki  ng forwhere MrLynch had gone.W e found him in the hallw ay
                   of a theatre next to the restaurant. lalso wentinto this building and sai
                                                                                           d ''
                                                                                              Sorly, Mr
                   Lynch,we justhave documents foryou,Ihave to give them to you in yourhands'
                                                                                            '
                   (photograph page 5 and video 1 at4 minutes 07 seconds)Mr Lynch did notsay
                   anything butdid nottake the Documents lwas attem pting to hand to him. He looked
                   around and then walked away again.

            12.    MrLynch then returned to the restaurant.He called forsecurityguafdsin the irestaurant
                   and returned to sitatthe table where he was previously Iocated.Otlrdriverexplained to
                   the security guards the reasrn for our presence in Russian. The security guards
                   continued to monitorus,butallowed us back i
                                                             nto the restaurant.

            13.    Forathird tim eIreturned with the Documentsto M rLynch.lexplainedoncem ore to M r
                   Lynch thatlhad docum ents to deliverto him .MrLynch physical   ly pushed me and the
                   Documents away while he was sitting down so as to preventm e from being able to hand
                   them to him orplace them on the table before him. W hile MrLynch was ptlshing me
                   away.he said e/don' twantthl Yj whateverthatis'. He tol
                                                                         d m e thathe was going to call
                    the poli
                           ce(photog- phspages 6-9 and video 2at20 secondsj.
            14.     MrLynch then leftthe reslurantfora second time (video 2 at48 eeconds).He left
                    through a differentexit.He did nottake whatappeared to be his possessions including
                    hiscoat.Iptaced the Documentsonthe tablein frontofMrLynch'scompanion(who had
                    been quietthroughout the whole process),W e l eftthe Documents on the table and
                    depadedthe restaurant.
            15.     Ourdriverlaterlnform ed me thathe saw MrLynch return to hi
                                                                             s table a few millutes later
                    and thathe leftthe restaurantwith the woman butwithoutthe Documents.He also saw
                    thatthe Doctlmentswere then taken by a mem berofsecurity afterM rLynch depaded.
                    W e no I
                           ongerhave a copy ofthe Documents.

            IbeIieve th t e fa 's stated in this wi
                                                  tness statem entare true.



            PIERRE- NDRE STAUB
            Date:20 M arch 2017



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                                                               Clalm No. CL-20152 00829


                                              IN THE HIGH COURT OF JUSTICE
                                              QUEENS BENCH DIVISION
                                              COM MERCIAL COURT

                                              BETW EEN:

                                                      (1)YUKOS FINANCE B.V.
                                                 (2)YUKOS INTERNATIONAL UK B.V.
                                              (3)STICHTING ADMINISTRATIEKANTOOR
                                                     YUKOS INTERNAN ONAL
                                                        (4)DAVID GODFREY
                                                    (5)YUKOS CAPI TAL S.A.R.L
                                             (6)FINANCIAL PERFORMANCE HOLDINGS
                                                                 B.V.
                                             (7)YUKOS HYDROCARBONS INVESTMENTS
                                                               LIMITED
                                                              Claim ant:

                                                          .   and -

                                                       (1)STEPHEN LYNCH
                                                     (2)STEPHEN JENNINGS
                                                         (3)ROBERT REID
                                                        (4)RICHARD 9EIT2
                                                     (5)ROBERT FORESMAN
                                                              pefeqd@nts

                                              W ITNESS STATEMENTOF PIERRIFANDR;
                                                                 STAUB


                                                       O LSW AN G
                                                           Olswang LLP
                                                          90 High Holborn
                                                         London W CIV 6XX
                                                         Tel:020 7067 3000
                                                        Fax:02070673999
                                                     Ref:BASJFAB/ABV/30954,.
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                                                                        Claim No.CL-2015-000829
                                                                               Pierre-André Staub
                                                                          FirstW itness Statem ent
                                                                                    20 March 2017
                                                                                     ExhibitPASI
         IN THE HIG H COURT OF JUSTICE
         QUEEN'S BENCH DIVISION
         COMMERCIAL COURT
         BETW EEN:
                                          (1)YUKOS FINANCE B.V.
                                    (2)YUKOS INTERNATIONAL UK B.V.
                      (3)STICHTING ADMINISTRATIEKANTOOR YUKOS INTERNATIONAL
                                           (4)DAVID GODFREY
                                         (5)YUKOS CAPITALSARL
                                (6)FINANCIAL PERFORMANCE HOLDINGS B.V.
                             (7)YUKOS HYDROCARBONS INVESTMENTS LIMITED
                                                                                       Clalm ants

                                                 -   and -

                                           (1)STEPHEN LYNCH
                                          (2)STEPREN JENNINGS
                                             (3)ROBERT REID
                                         (4)RICHARD ANDREW DEI
                                                             TZ
                                      (5)ROBERT MARK FORESMAN
                                                                                      Qnfendants


                                             EXHIBI
                                                  T ''PASI':

         Thisisth4 exhibi
                        tmarke ''PAS 'referred to inthe firstwitnessstatementofPIERRE-ANDRé STAUB
         dated thi
                 s20 March



                Plerre-And éStaub
          Dated:20 March 2017
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                                                                    Pierre-André Staub
                                                                FirstW itness Statem ent
                                                                    Date:20 March 2017
                                                                           ExhibitPASI
                                                              Claim No.C1--2015-000829
                                             IN THE HIGH COURT OF JUSTICE
                                             QUEEN'S BENCH DIVISIO N
                                             COMM ERCIAL COURT
                                              B ET W E E N:

                                                      (1)YUKOS FINANCE B.V.
                                                 (2)YUKOS INTERNATIONAL UK B.V.
                                              (3)STICHTING ADMINISTRATIEKANTOOR
                                                     YUKOS INTERNATIONAL
                                                        (4)DAVID GODFREY
                                                     (5)YUKOS CAPITALSARL
                                              (6)FINANCIAL PERFORMANCE HOLDINGS
                                                                   B.V.
                                                    (7)YUKOS HYDROCARBONS
                                                      INVESTMENTS LIM ITED
                                                                          Claiman/
                                                               -   and -

                                                         (1)STEPHEN LYNCH
                                                       (2)STEPHEN JENNINGS
                                                           (3)ROBERT REID
                                                    (4)RICHARD ANDREW DEITZ
                                                       (5)ROBERT FORESMAN
                                                                             Defendants

                                                          EXHIBIT ''PASI''


                                                      O LSW A NG
                                                           Olswang LLP
                                                          90 High Hofborn
                                                         London W CIV 6XX
                                                         Tel:020 7067 3000
                                                         Fax:02Q 7067 3999
                                                     Ref.BAShTABW Bm 30954.4

                                                     Solicitors forthe Claim ants

                                                                                      10
